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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                     Case No. 1:13-cr-42

v.                                                            HON. JANET T. NEFF

SHARUN CONTRELL WILLIAMS,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Sharun Contrell Williams has filed a motion for modification or reduction of

sentence (Dkt 153) pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug

Quantity Table with respect to cocaine base (crack cocaine). The U.S. Probation Department has

filed a Sentence Modification Report (Dkt 178), and Defendant has filed a Response (Dkt 179).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 750 of the United States Sentencing

Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to cocaine base (crack

cocaine), and U.S.S.G. § 2D2.1(b). These modifications were made retroactive effective November

1, 2011. U.S.S.G. § 1B1.10(c).

       However, the defendant appears to be ineligible for a reduction according to the policy

statements of the U.S. Sentencing Commission due to the mandatory minimum controlling the

sentence. Defendant acknowledges that he is ineligible at this time, but wishes to preserve the issue
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for future consideration should the law change. See Cvijetinovic v. Eberlin, 617 F.3d 833, 840 (6th

Cir. 2010).

       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 153) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.




DATED: September 14, 2015                             /s/ Janet T. Neff
                                                     JANET T. NEFF
                                                     United States District Judge




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